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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )         4:05CR3060-2
                                           )
                   Plaintiff,              )
                                           )
      vs.                                  )         MEMORANDUM
                                           )         AND ORDER
FERNANDO NUNEZ,                            )
                                           )
                   Defendant.              )

     I am in receipt of a letter dated March 23, 2007, from the defendant, Fernando
Nunez.

      IT IS ORDERED that:

       (1) The Clerk of Court shall file Mr. Nunez’s letter, which is attached hereto,
in the court file.

      (2)    Treated as a motion, it is denied.

       (3) The Clerk of Court shall provide a copy of this order to the defendant at
his last known address. The Clerk shall also provide a copy of this order and the
defendant’s letter to counsel of record.

      March 28, 2007.                          BY THE COURT:

                                               s/ Richard G. Kopf
                                               United States District Judge
